
44 A.3d 424 (2012)
426 Md. 433
ATTORNEY GRIEVANCE COMMISSION OF MARYLAND, Petitioner
v.
Charlene Sukari HARDNETT, Respondent.
Misc. Docket AG No. 64, Sept. Term, 2011.
Court of Appeals of Maryland.
May 9, 2012.

ORDER
This matter came before the Court on the Joint Petition for Reprimand by Consent submitted by the Attorney Grievance Commission of Maryland, Petitioner, and Charlene Sukari Hardnett, Respondent, by her attorney, Melvin G. Bergman, Esquire. The Court, having considered the Petition, it is this 9th day of May, 2012,
ORDERED, by the Court of Appeals of Maryland that the Respondent, Charlene Sukari Hardnett, be, and she hereby is, reprimanded for her violation of Rule 5.3 of the Maryland Rules of Professional Conduct.
